     Case:20-12377-MER Doc#:2007 Filed:09/13/23                                             Entered:09/13/23 22:14:57 Page1 of 12
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 20-12377-MER
Sklar Exploration Company, LLC                                                                                         Chapter 11
Sklarco, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 11
Date Rcvd: Sep 11, 2023                                               Form ID: 237                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 13, 2023:
Recip ID                 Recipient Name and Address
db/db                  + Sklar Exploration Company, LLC, Sklarco, LLC, 5395 Pearl Parkway, Suite 200, Boulder, CO 80301-2541

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 13, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 11, 2023 at the address(es) listed
below:
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Amy Vazquez
     Case:20-12377-MER Doc#:2007 Filed:09/13/23                                  Entered:09/13/23 22:14:57 Page2 of 12
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Date Rcvd: Sep 11, 2023                                     Form ID: 237                                                            Total Noticed: 1
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     Case:20-12377-MER Doc#:2007 Filed:09/13/23                                  Entered:09/13/23 22:14:57 Page5 of 12
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                                   UNITED STATES BANKRUPTCY COURT
                                                    District of Colorado



   In re: Sklar Exploration Company, LLC and Sklarco,                                 Case No.
   LLC                                                                                20−12377−MER
          Debtor(s)




                       NOTICE OF FILING OF TRANSCRIPT
          AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION[¹]
                  A transcript of the proceeding held on 8/16/2021 was filed on
               9/11/2023 . The following deadlines apply:
                   The parties have until 9/18/2023 to file with the court a Notice of
               Intent to Request Redaction of this transcript. The deadline for filing a
               Request for Redaction is 10/2/2023 .
                    If a request for redaction is filed, the Redacted Transcript is due
               10/12/2023 . If no such notice is filed, the transcipt may be made available
               for remote electronic access upon expiration of the restriction period,
               which is 12/11/2023 unless extended by court order.
                   To review the transcript for redaction purposes, you may purchase a
               copy from the transcriber:
               eScribers, LLC
               7227 North 16th Street, Suite 207
               Phoenix, AZ 85020
               800−257−0885
               or you may view the document at the clerk's office public terminal.




   ¹ The Judiciary's privacy policy provides for limiting Social Security and Financial Account numbers to the last four digits,
   using only initials for the names of minor children, and limiting dates of birth to the year. If such personal identifier
   information is elicited within court proceedings, this information will appear on the transcript and will become available to the
   public unless action is take to redact this information.
